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                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION


 IN RE: KIA HYUNDAI VEHICLE THEFT                MDL No. 3052
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY
 LITIGATION,

                                  SCHEDULE OF ACTIONS

           Case Caption                Case No.           Court                Judge
 Plaintiff: City of Seattle         2:23-cv-00098    W.D. Washington        TBD

 Defendants: Hyundai Motor
 America, Inc. and Kia America,
 Inc.

DATED: January 23, 2023                  Respectfully Submitted,

                                         /s/ Gretchen Freeman Cappio
                                         Gretchen Freeman Cappio
                                         KELLER ROHRBACK L.L.P.
                                         1201 Third Avenue, Suite 3200
                                         Seattle, WA 98101
                                         Phone: (206) 623-1900
                                         Fax: (206) 623-3384
                                         gcappio@kellerrohrback.com
                                         Attorneys for Plaintiff City of Seattle
4866-0268-5260, v. 1




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